

Trason Elm, LLC v Buffalo State Ventures, LLC (2022 NY Slip Op 01685)





Trason Elm, LLC v Buffalo State Ventures, LLC


2022 NY Slip Op 01685


Decided on March 11, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 11, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., PERADOTTO, LINDLEY, NEMOYER, AND CURRAN, JJ.


273 CA 21-00230

[*1]TRASON ELM, LLC, PLAINTIFF-RESPONDENT,
vBUFFALO STATE VENTURES, LLC, AND DHD VENTURES, LLC, DEFENDANTS-APPELLANTS. (APPEAL NO. 1.) 






DAVIDSON FINK LLP, ROCHESTER (RICHARD N. FRANCO OF COUNSEL), FOR DEFENDANTS-APPELLANTS.
BYRNE, COSTELLO &amp; PICKARD, P.C., SYRACUSE (F. SCOTT MOLNAR OF COUNSEL), FOR PLAINTIFF-RESPONDENT. 


	Appeal from an order of the Supreme Court, Onondaga County (Deborah H. Karalunas, J.), entered February 10, 2021. The order, among other things, granted the motion of plaintiff for summary judgment. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on December 31, 2021,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: March 11, 2022
Ann Dillon Flynn
Clerk of the Court








